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 1                                UNITED STATES DISTRICT COURT

 2                                        DISTRICT OF NEVADA

 3 United States of America,                                  Case No.: 2:16-cr-00111-JAD-DJA

 4              Plaintiff                                        Order Denying Motions as
                                                                   Moot Due to Release
 5 v.
                                                                     [ECF No. 354, 355]
 6 Craig P. Orrock,

 7              Defendant

 8            While serving a 32-month custodial sentence at the Federal Prison Camp in Lompoc,

 9 California, Defendant Craig P. Orrock moved for compassionate release 1 and that motion was

10 supplemented by counsel. 2 During the briefing on that request, the government learned that

11 Orrock had been approved for release to home confinement by the Bureau of Prisons (BOP). 3

12 The government reported that Orrock was scheduled to leave the Lompoc institution for home

13 confinement on October 30, 2020. 4 The court has been following Orrock’s status closely, and

14 the BOP website now reflects that Orrock is no longer in BOP custody. 5 IT IS THEREFORE

15 ORDERED that Orrock’s Motions for Compassionate Release [ECF Nos. 354, 355] are

16 DENIED as moot.

17            Dated: November 2, 2020

18                                                             _________________________________
                                                               U.S. District Judge Jennifer A. Dorsey
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     1
21       ECF No. 354.
     2
         ECF No. 355.
22   3
         ECF Nos. 364, 367.
23   4
         ECF No. 367.
     5
         https://www.bop.gov/inmateloc/ for Craig P. Orrock (last visited 11/2/2020).
